Case 1:01-cv-12257-PBS Document 6705-5 Filed 11/25/09 Page 1 of 15

longer making either of these products. Even if Mylan had legitimate concerns about the supply of
these APIs, like other generic pharmaceutical manufacturers, Mylan could have entered into a less
restrictive requirements contract which would have assured Mylan a source of supply, but not denied

Mylan’s competitors access to the same source. Moreover, its attempt to obtain an exclusive

agreement with FIS would provide no assurances of supply, given that Mylan could not use any FIS

lorazepam API for at least a year, due to FDA regulations.

AL
EFFECTS

effect, or the tendency or capacity, to restrain competition unreasonably and te injure competition
within each State and throughout the United States in the following ways, among others:

52. Restraining competition in the markets for lorazepam and clorazepate APIs and

tablets:

54, Raising the cost that pharmacies, hospitals, insurers, managed care organizations,
wholesalers, government agencies, consumers, and others pay for lorazepam and clorazepate tablets:
$5. _Depriving consumers of access to needed pharmaceuticals and thereby injuring their

health; and

manufacturers and entry from new competitors.

DR Be

CAMylan0400555 CAMylan04005558

Case 1:01-cv-12257-PBS Document 6705-5 Filed 11/25/09 Page 2 of 15

INJURY

57. As adirect and proximate result of the unlawful conduct alleged above, the States
were not and are not able to purchase, or pay reimbursements for purchases of, lorazepam and

clorazepate at prices determined by free and open competition, and consequently have been injured

lorazepam and clorazepate thian they would have paid in a free and open competitive market. The

States cannot quantify at this time the precise amount of monetary harm which they have sustained,
but allege that such harm is substantial. A determination and explication of this amount will require

the testimony of economic experts following extensive review of the books and records of the

58  Asadirect and proximate result of the unlawful conduct alleged above, consumers
in the Plaintiff States were not and are not able to purchase lorazepam and clorazepate at prices
determined by free and open competition, and consequently have been injured in their business or

property in that, inter afia, they have paid more and continue te pay more for lorazepam and

quantify at this time the precise arnount of monetary harm which their consumers have sustained,

but allege that such harm is substantial. A determination and explication of this arnount will require
the testimony of economic experts following extensive review of the books and records of the

Defendants and third parties.

economies of the States have sustained injury, and are threatened with futher injury to their business

and property unless the Defendants are enjoined from their unlawful conduct.
60. As a direct and proximate result of the unlawful conduct alleged above, the

Defendants have unjustly profited through inflated profit margins and have thus far retained the

illegally obtained profits.

26

CAMylan0400555 CAMylan04005559

Case 1:01-cv-12257-PBS Document 6705-5 Filed 11/25/09 Page 3 of 15

61. Defendants’ unlawful conduct is continuing and will continue unless the injunctive

and equitable relief request is granted. The States do not have an adequate remedy at law.

XU.

IRST CLAIM FOR RELIEF ~ CONSPIRACY TO

%: VE

MONOPOLIZE GENERIC LORAZEPAM TABLETS MARKET
62. The States reallege and incorporate by reference paragraphs | through 61.
63. Mylan, Cambrex, Profarmaco, and Oyma conspired ta act together to obtain

rnonopoly power for Mylan in the generic lorazepam tablets market in the United States in violation

of Section 2 of the Sherman Act, 15 U.S.C. § 2.
64. Mylan acted with a specific intent i6 monopolize, and to desirey competition in, the
peneric lorazepam tablets market. Mylan devised and implemented a calculated campaign to raise

the price and profitability of lorazepam by locking up the supply of lorazepam API, the most

&

essential ingredient in manufacturing lorazepam tablets. Each of the co-conspirators acted with the
specific intent that Mylan obtain monopoly power in the generic lorazepam tablets market, and
through thelr profit sharing arrangement and the resulting higher prices, the co-conspirators each

have profited significantly from their conspiracy to the detriment of consumers.

65. In furtherance of this conspiracy, these Defendants entered into agreements and profit
sharing arrangements whereby Mylan obtained the exclusive license to Profarmaco's lorazepam APL
This license had the purpose and effect of denying, to Mylan’s competitors in the generic lorazepam

tablets market, the supply of an essential raw material, Also in furtherance of this conspiracy, Mylan

37

CAMylan0400556 CAMylan04005560

Case 1:01-cv-12257-PBS Document 6705-5 Filed 11/25/09 Page 4 of 15

~ with the fall knowledge and approval of Cambrex, Profarmaco, and Gyma -- sought to obtain the

exclusive right to the only other active supplier of lorazepam API to generic manufacturers.

XIV,

SECOND CLAIM FOR RELIEF -- CONSPIRACY TO
MONOPOLIZE GENERIC CLORAZEPATE TABLETS MARKET
66. The States reallege and incorporate by reference paragraphs | through 61.

67. Mylan, Cambrex, Profarmaco, and Gyma conspired to act together to obtain

monopoly power for Mylan in the generic clorazepate tablets market in the United States in violation
of Section 2 of the Sherman Act, 15 U.S.C. §2.
68. Mylan acted with a specific intent to monopolize, and to restrain and destroy

competition in, the generic clorazepate tablets market. Mylan devised and implemented a calculated

API, the most essential ingredient in manufacturing clorazepate tablets. Each of the co-conspirators
acted with the specific intent that Mylan obtain monopoly power in the generic clorazepate tablets
market, and through their profit sharing arrangement and ihe resulting higher prices, the co-

conspirators cach have profited significantly from their conspiracy to the detriment of consumers.

69. In furtherance of this conspiracy, these Defendants entered inw agreements and
profit sharing arrangements whereby Mylan obtained the exclusive license to Profarmaco’s
clorazepate API. This license had the purpose and effect of denying, to Mylan's competitors in the

generic clorazepate tablets market, the supply of an essential raw material. Also in the furtherance

CAMylan0400556 CAMylan04005561

Case 1:01-cv-12257-PBS Document 6705-5 Filed 11/25/09 Page 5 of 15

of this conspiracy, Mylan approached Abbott Laboratories ~ which manufactured clorazepate API

for use in Abbott's branded clorazepate -- to Inquire about purchasing clorazepaie API, even though

FDA regulations effectively precluded Mylan from using, for at least a year, any Abbott clorazepate

API.

XY.
THIRD CLAIM FOR RELIEF
AGREEMENT IN RESTRAINT OF TRADE ON LORAZEPAM

70, The States reallege and incorporate by reference paragraphs | through 61,

Fi. Mylar’s exclusive licensing agreement with Cambrex and Profarmaco, pursuant to
which Mylan obtained the exclusive right to Profarmaco‘’s supply of lorazepam APL and Gyma’s

compliance with it, unreasonably restricts competition and constitutes an unreasonable restraint of

irade in violation of Section | of the Shennan Act, 15 U.S.C. § 1b.

Profarmaco’s lorazepam API. The purpose or effect of this agreement is to foreclose substantially
the supply of lorazepam AP! to Mylan’s competitors, thereby restraining trade and competition In
the generic lorazepam tablets market and enabling Mylan to raise prices significantly.

73. This agreement is not reasonably necessary to accomplish any procompetitive

objective. Moreover, any justification that may exist does not outweigh the substantial

anticompetitive effect of Defendants’ conduct.

29

CAMylan0400556 CAMylan04005562

Case 1:01-cv-12257-PBS Document 6705-5 Filed 11/25/09 Page 6 of 15

FOURTH CLAIM FOR RELIEF
AGREEMENT IN RESTRAINT OF TRADE ON CLORAZEPATE
74. The States reallege and incorporate by reference paragraphs 1 through 61,

75.  Mylan's exclusive licensing agreement with Cambrex and Profarmaco, pursuant to

which Mylan obtained the exclusive right to Profarmaco's supply of clorazepate API, and Gyma’s
compliance with it, unreasonably restricts competition and constitutes an unreasonable restraint of
trade in violation of Section | of the Sherman Act, 15 DS.C. § 1.

76. Under this licensing agreement, Mylan Heensed, on a ten-year exclusive basis,

Profarmaco’s Clorazepate API, ‘Lhe purpose or efiect of this agreement is to foreclose substantially
the supply of clorazepate API to Mylan's competitors, thereby restraining trade and competition in
the generic clorazepate tablets market and enabling Mylan to raise prices significantly.

77, This agreement is not reasonably necessary to accomplish any procompelitive

objective Meoreover. anv justification he substantial

anticompetitive eflect of Defendants’ conduct.
XVI.
FIFTH CLAIM FOR RELEE?

MONOPOLIZATION OF GENERIC LORAZEPAM TABLETS MARKET

78. The States reailege and incorporate by reference paragraphs 1 through 61.
78. Mylan obtained monopoly power in the generic lorazepam tablets market in violation

of Section 2 of the Sherman Act, 15 U.S.C. § 2. Using this monopoly power, Mylan raised the price

30

CAMylan0400556 CAMylan04005563

Case 1:01-cv-12257-PBS Document 6705-5 Filed 11/25/09 Page 7 of 15

of generic lorazepam tablets by amounts ranging from 1,900 percent to over 2,600 percent,

depending on thé botile size and tablet strength,
80. Mylan willfully acquired its monopoly power by entering into an exclusive licensing

agreement for Profarmaco’s lorazepam API, This exelusive Heense provided Mylan complete

control over Profarmaco's supply of lorazepam API in the United States market, which enabled
Mylan to deny its actual or potential competitors access to this essential ingredient in manufacturing

generic lorazepam tablets and significantly raise prices.

AVI.

MONOPOLIZATION OF GENERIC LORAZEPAM TABLETS MARKET

81. The States reallege and incorporate by reference paragraphs { through 61.

82. Mylan acted with a specific intent to monopolize, and to destroy competition in, the

ion 2 of the Sherman Act, 15 U.S.C. § 2,

Mylan devised and implemented a calculated campaign to raise the price and profitability of
lorazepam by locking up the supply of lorazepam API, the most essential ingredient in
manufacturing generic lorazepam tablets.

83. Mylan has willfully engaged in a course of exclusionary conduct in order to obtain

a monopoly in the generic lorazepam tablets market, including, inter alia: (1) entering inte an
exclusive licensing agreement for Profarmaco’s lorazepam API; and (2) approaching SST -- the only

other active distributor of lorazepam API to generic manufacturers in the United States -- proposing

34

CAMylan0400556 CAMylan04005564

Case 1:01-cv-12257-PBS Document 6705-5 Filed 11/25/09 Page 8 of 15

a similar licensing arrangement for FIS's lorazepam API, even though Mylancould not even use any

of FIS’s lorazepam API because of FDA regulations.
84. At the time Mylan engaged in these acis, it had a dangerous probability of succeeding

in controlling the supply of lorazepam API and excluding its competitors. Mylan, by obtaining the

exclusive licensing agreement with Cambrex, Profarmaco, and Gyma, prevented certain competitors
from obtaining lorazepam API, enabling Mylan to significantly raise prices, Had SST agreed to
Mylan’s proposal, it would have denied lorazepam API to other competitors and potential

competitors, allowing Mylan to acquire or maintain monopoly power In the generic lorazepam

tablets market.
MEM.
SEVENTH CLAIM FOR RELIEF

MONOPOLIZATION OF GENERIC CLORAZEPATE TABLETS MARKET

Oe
Vase

86. Mylan possessed monopoly power in the generic clorazepate tablets market in
viclation of Section 2 af the Sherman Act, 15 U.S.C. § 2. Using this monopoly power, Mylan raised
the price of generic lorazepam tablets by amounts ranging from 1,900 percent ito over 3,200 percent,

depending on the bottle size and strength.

$7. Mylan willfully acquired its monopoly power by entering into an exclusive licensing
agreement for Profiarmaco's clorazepate API. This exclusive license provided Mylan with complete

control over Profarmaco’s supply of clorazepate API in the United States market, which enabled

32

CAMylan0400556 CAMylan04005565

Case 1:01-cv-12257-PBS Document 6705-5 Filed 11/25/09 Page 9 of 15

Mylan to deny its actual or potential competitors access to this essential ingredientin manufacturing

generic clorazepate tablets and significantly raise prices.
XX.

EIGHTH CLAIM FOR RELIEF

ATTEMPTED MONOPOLIZATION OF GENERIC CLORAZEPATE TABLETS MARKET
88. The States reallege and incorporate by reference paragraphs | through 61.
89. Mylan acted with a specific intent to monopolize, and to destroy competition in, the

generic clorazepate tablets market in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2.

Mylan devised and implemented a calculated campaign to raise the price and profitability of
clorazepate by locking up. the supply of clorazepate API, the most essential ingredient in

manufacturing clorazepate tablets.

90. Mylan has willfully engaged in a course of exchisionary conduct in order to obtain

Heensing agreement for Profarmaco's clorazepate API.
51. At the time Mylan engaged in these acts, it had a dangerous probability of succeeding
in controlling the supply of clorazepate API and excluding its competitors. Mylan, by obtaining the

exclusive licensing agreement with Cambrex, Profarmaco and Gyma, prevented certain competitors

from obtaining clorazepate API, enabling Mylan to significantly raise prices.

CAMylan0400556 CAMylan04005566

Case 1:01-cv-12257-PBS Document 6705-5 Filed 11/25/09 Page 10 of 15

XXL
NINTH CLAIM FOR RELIEF
PRICE FIUING AGREEMENT ON LORAZEPAM API

92. The States reallege and incorporate by reference paragraphs | through 61.

ALSE, OF Stabilize the

Vivian, Cambre
prices of lorazepam API, a per se violation of Section | of the Sherman Act, 15 U.S.C. § 1.

04. In furtherance of this conspiracy, Mylan met with SST in Pittsburgh, Pennsylvania
onor around November 20, 1997. At this meeting, or otherwise in the course of their exchanges of

information before and after it, Mylan and SST conspired and reached an agreement to fix, raise, or

lorazepam API to its customers.

95. In accordance with this agreement, Mylan substantially raised the price of its

lorazepam tablets, and by virtue of its profit sharing arrangement with Canibrex, Profarmaco, and

Gyma, substantially raised the effective price of Profarmaco’s lorazepam API. Also in accordance

of its lorazepam API, SST ensured that its customers would follow Mylan’s pricing for reneric
lorazepam tablets. This agreement further ensured Mylan’s ability to promote the success of its
unlawful scheme and maintain supra-competitive prices for lorazepam.

ARM.

6. Plaintiff State of Alabama repeats and realleges each and every allegation contained

in paragraphs i through 95 with the same force and effect as if here set forth in full.
97. The aforementioned practices by Defendants were in violation of the Code of

Alabama, §§ 8-10-1 ef seg. (1975}. The State of Alabama represents consumers’ claims pursuant

CAMylan0400556 CAMylan04005567

Case 1:01-cv-12257-PBS Document 6705-5 Filed 11/25/09 Page 11 of 15

o8. Plaintiff State of Alaska repeats and realleges each and every allegation contained in

paragraphs | through 95 with the same force and effect as if here set forth in full.
99. The aforementioned practices by Defendants were in violation of the Alaska
Monopolies and Restraint of Trade Act, AS 45,50.562 et seq., and the Alaska Unfair Trade Practices

and Consumer Protection Act
claims pursuant to the Attoriey General's parens patrice authority and authority under Rule 23 of
the Federal Rules of Civil Procedure.

100. Plaintiff State of Arizona repeats and realleges each and every allegation contained

in paragraphs | through 95 with the same force and effect as if here set forth in full.

Staie Antitrust Act, A.R.S. §§ 44-1401 e? seg. The State of Arizona represents consumers’ claims
pursuant to the Attorney General's perens pairiae authority.

102. Plaintiff State of Arkansas repeats and realleges each and every allegation contained

in paragraphs 1 through 95 with the same force and effect as if here set forth in full,

concerning prohibited practices in restraint of trade and monopolies generally, found at Ark. Code
Ann, sec. 4-75-301 ef seq. and the Arkansas Deceptive Trade Practices Act found at Ark.
Code Ann. sec. 4-88-10] et seq. The State of Arkansas represents consumers’ claims pursuant to

the Attommey General's authority under Rule 23 of the Federal Rules of Civil Procedure,

in paragraphs | through 95 with the same force and effect as if here set forth in full.

105. The aforementioned practices by Defendants were in violation of the Cartwright Act,
California Business and Professions Code Sections 16700 ef seg., and the California Unfair

Competition Act, California Business and Professions Code Sections 17200 ef seg. The State of

33

CAMylan0400556 CAMylan04005568

Case 1:01-cv-12257-PBS Document 6705-5 Filed 11/25/09 Page 12 of 15

California represents consumers’ claims pursuant to the Attomey General's parens pairiae authority

and authority under Rule 23 of the Federal Rules of Civil Procedure.
106. Plaintiff State of Colorado repeats and realleges each and every allegation contained

in paragraphs 1 through 95 with the same force and effect as if here set forth in full.

Antitrust Act of 1992, 8§ 6-4-104 and 6-4-105, C.R.S. (1998). The State of Colorado represents

consumers’ claims pursuant to the Attorney General’s parens parrige authority and equitable
authority under §6-4-121,C.8.5. (2000) .

108. Plaintiff State of Connecticut repeats and realleges each and every allegation

109. The aforementioned practices of Defendants were in violation of the Connecticut

Antitrast Act, Conn. Gen. Stat. Sections 35-24 ef seg., and the Connecticut Unfair Trade Practices

Act, Conn. Gen, Stat, Sections 42-110, ef seg. The State of Connecticut is entitled to redress

pursuarit to §§ 35-32, 35-34, 35-38, 42-110m and 42-1100 of the Connecticut General Statutes. The

Rule 23 of the Federal Rules of Civil Procedure.

ilQ. Plaintiff State of Delaware repeats and realleges each and every allegation contained
in paragraphs | through 95 with the same force and effect as if here set forth in full.

ill. The aforementioned practices by Defendants were in violation of the Delaware

Antitrust Act, 6 Delaware Code Chanter 2 1. and Delaws

6 Delaware Code, Subchapter 111, Sec. 2532. The State of Delaware represents consumers’ claims
pursuant to the Attorney General's parens pairiae authority.
112. Plaintiff District of Columbia repeats and realleges each and every allegation

contained in paragraphs | through 95 with the same force and effect as if here set forth in full.

36

CAMylan0400556 CAMylan04005569

Case 1:01-cv-12257-PBS Document 6705-5 Filed 11/25/09 Page 13 of 15

113. The aforementioned practices by Defendants were in violation of the District of

Columbia Antitrast Act of 1980, D.C. Cade §§ 28-4501 ef seg. The District of Columbia represents

consumers’ claims pursuant to the Corporation Counsel's parens patriae authority.

114. Plaintiff State of Florida repeats and realleges each and every allegation contained

Florida Statutes (he Florida Antitrust Act of 1980), and Chapter 501, Part 0, Florida Statutes (the
Florida Deceptive and Undair Trade Practices Act). Florida Attorney General Robert A. Butterworth

brings this action in part as an “enforcing authority” designated under the Florida Deceptive and

and 501.203@)) on behalf of ali “consumers” (as defined in section 501.203(7), Florida Statutes)
who purchase or purchased lorazepam or clorazepate at supra-competitive prices either directly from

Defendants or indirectly through others in the chain of distribution. The violations. of section

$01,204, Florida Statutes, herein alleged have occurred in or affected, and are occurring. in or

consumers’ claims pursuant to the Attorney General's enforcement authority and authority under
Rule 23 of the Federal Rules of Civil Procedure.

il6. Plaintiff State of Georgia repeats and realleges each and every allegation contained
in paragraphs | through 95 with the same force and effect as if set forth in full,

il7. The aforementioned practices by Defendants were in violation of Official Code of

Georgia Annotated (0.C.G.A,) § 13-8-2, and Ga. Const. Art. 111, § VI, para. 5 (1983). The State

of Georgia. represents consumers’ claims pursuant to the Attorney General's authority under Rule 23
of the Federal Rules of Civil Procedure.
113. Plaintiff State of Hawaii repeats and realleges each and every allegation contained

in paragraphs | through 95 with the same force and effect as if here set forth in full,

37

CAMylan0400557 CAMylan04005570

Case 1:01-cv-12257-PBS Document 6705-5 Filed 11/25/09 Page 14 of 15

119. The aforementioned practiced by Defendants were in violation of Hawaii Revised

Statutes §§ 480-4, 480-9, 480-2. The State of Hawaii represents consumers’ claims pursuant to the
Attorney General’s parens potriae authority. ,

120. Plaintiff State of Idaho repeats and realleges each and every allegation contained in

121. The aforementioned practices by Defendants were in violation of the Idaho

Competition Act, Idaho Code Sections 48-101 ef seg., and were unconscionable acts or practices in
violation of Idaho Code Section 48-603(18) of the Idaho Consumer Protection Act. The State of
Idaho is entitled to redress pursuant to Idaho Code Sections 48-108, 48-606, and 48-607, Idaho

substantially and materially impaired by delay in instituting this action. The State of Idaho

represents consumers’ claims pursuant to the Attorney General's parens pairiae authority,

122. Plaintiff State of [nois repeats and realleges each and every allegation contained
in paragraphs | through 95 with the same force and effect as if here set forth in full.

123

Antitrust Act, 740 ILCS 10/3. The State of Hlinois represents consumers’ claims pursuant to the
Attormey General's parers natriae authority and authority under Rule 23 of the Federal Rules of
Civil Procedure.

124. Plaintiff State of Indiana repeats and realleges each and every allegation contained

in paragraphs | through 95 with the same force and effe

125, The aforementioned practices by the Defendants were in violation of Indiana Code
§§ 24-1-[-1 ef seg. The State of Indiana represents consumers’ claims pursuant to the Attorney.
General's authority under Rule 23 of the Federal Rules of Civil Procedure.

126, Plaintiff State of lowa repeats and realleges each and every allegation contained in

paragraphs | through 95 with the same force and effect as if here set forth in full.

CAMylan0400557 CAMylan04005571

Case 1:01-cv-12257-PBS Document 6705-5 Filed 11/25/09 Page 15 of 15

127. The aforementioned practices by the Defendants were in violation of the lowa

Competition Law, lowa Code sections 553.4 and 553.5 and the lowa consumer frauds and unfair
practices act, iowa Cade §714.16, et seg. The State of lowa represents consumers’ claims pursuant

to the Atiomey General's authority under Rule 23 of the Federal Rules of Civil Procedure.

in paragraphs | through 95 with the same force and effect as if here set forth in full.
129. The aforementioned practices by the Defendants were in violation of Kansas Statutes
Annotated §§ 50-101 ef seq. The State of Kansas represents consumers’ claims pursuant to the
Attorney General’s parens patriae authority and authority under Rule 23 of the Federal Rules of
130, Plaintiff Commonwealth of Kentucky repeats and realleges each and every allegation

contained in parsgraphs ! through 95 with the same force and effect as if here set forth in full.
131. The aforementioned practices by the Defendants were in violation of Kentucky

Revised Statutes (RRS) 367.175, and the Kentucky Consumer Protection Act, KRS 367.110 e7 seq.
132

for damages sustained by the Coramonwealth of Kentucky and its natural person citizens, together
with costs and attomeys fees, civil penalties and all available equitable relief, including injunctive
relief and restitution and disgorgement. The Commonwealth of Kentucky represents consumers’
elaims pursuant to the Attorney General's parens pairiae authority and authority under Rule 23 of

the Federal Rules of Civil Procedure.

i133. Plaintiff State of Louisiana repeats and realleges each and every allegation contained
in paragraphs. } through 95 with the same force and effect as if here set forth in full.
134. The aforementioned practices of Defendants were in violation of the Louisiana

Monopolies Act, Louisiana Revised Statutes (La. B.S.) 31:121, et seq. and the Louisiana Unfair

38

CAMylan0400557 CAMylan04005572

